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           EXHIBIT I
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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
                                               )
                                                    No. 14-cv-9662 (JSR)
                                               )
 IN RE PETROBRAS SECURITIES                    )
 LITIGATION                                    )
                                               )    ECF CASE
                                               )
                                               )


                    STIPULATION OF SETTLEMENT AND RELEASE

       This Stipulation of Settlement and Release, dated February 1, 2018 (“Stipulation”) is

submitted pursuant to Fed. R. Civ. P. 23 and Fed. R. Evid. 408. Subject to the District Court’s

approval, this Stipulation is entered into by and between (i) the District Court-appointed Class

Representatives Universities Superannuation Scheme Limited (acting as sole corporate trustee of

Universities Superannuation Scheme) (“USS”), North Carolina Department of State Treasurer

(“North Carolina”) and Employees’ Retirement System of the State of Hawaii (“Hawaii”)

(collectively, “Class Representatives” or “Plaintiffs”), individually and on behalf of each

Settlement Class Member (as defined herein) and (ii) Petróleo Brasileiro S.A. – Petrobras

(“Petrobras”), Petrobras Global Finance B.V. (“PGF”), and Petrobras America Inc. (“PAI”)

(collectively, the “Petrobras Defendants”) and BB Securities Ltd., Citigroup Global Markets Inc.,

J.P. Morgan Securities LLC, Itau BBA USA Securities, Inc., Morgan Stanley & Co. LLC, HSBC

Securities (USA) Inc., Mitsubishi UFJ Securities (USA), Inc. (n/k/a MUFG Securities Americas

Inc.), Merrill Lynch, Pierce, Fenner & Smith Incorporated, Standard Chartered Bank, Bank of

China (Hong Kong) Limited, Banco Bradesco BBI S.A., Banca IMI S.p.A. and Scotia Capital

(USA) Inc. (collectively, the “Underwriter Defendants”) by and through their respective counsel

in the above-captioned consolidated class action (the “Action”).
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       Almir Guilherme Barbassa, Jose Carlos Cosenza, Paulo Roberto Costa, Renato de Souza

Duque, Guillherme de Oliveira Estrella, Maria das Graca Silva Foster, Jose Miranda Formigli

Filho, José Sergio Gabrielli, Silvio Sinedino Pinheiro, Daniel Lima de Oliveira, José Raimundo

Brandão Pereira, Sérvio Túlio da Rosa Tinoco, Paulo Jose Alves, Gustavo Tardin Barbosa,

Alexandre Quintão Fernandes, Marcos Antonio Zacarias, Cornelis Franciscus Jozef Looman, and

Theodore M. Helms shall collectively be referred to in this Stipulation as the “Individual

Defendants.”

       The Petrobras Defendants, the Underwriter Defendants, the Individual Defendants, Josue

Christiano Gomes da Silva, Mariângela Monteiro Tizatto, Banco Votorantim Nassau Branch,

Santander Investment Securities Inc., Petrobras International Finance Company,

PricewaterhouseCoopers Auditores Independentes (“PwC Brazil”), and any other Person that is

or has been at any time a defendant in this Action, shall collectively be referred to in this

Stipulation as the “Defendants.”

       Class Representatives, the Settlement Class Members, the Petrobras Defendants, and the

Underwriter Defendants shall collectively be referred to in this Stipulation as the “Settling

Parties.”

       A.      WHEREAS, beginning in December 2014, several putative securities class

actions were filed on behalf of investors against the Defendants or certain of them. The lawsuits

alleged violations of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the

“Exchange Act”), 15 U.S.C. §§78j(b), 78t(a), and Securities and Exchange Commission (“SEC”)

Rule 10b-5 promulgated thereunder, as well as Sections 11, 12(a)(2), and 15 of the Securities Act

of 1933 (the “Securities Act”), 15 U.S.C. §§ 77k, 77l, 77o. By Order dated February 17, 2015,

the District Court consolidated these actions, and by Order dated March 4, 2015, the District




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Court appointed USS as Lead Plaintiff, and appointed Pomerantz LLP as Class Counsel for the

Settlement Class, pursuant to the Private Securities Litigation Reform Act of 1995, 15 U.S.C.

§78u-4 and 15 U.S.C. §77z-1 (the “PSLRA”).

       B.      WHEREAS, on March 27, 2015, USS filed a Consolidated Amended Complaint

(“CAC”) against certain of the Defendants for violations of Sections 10(b) and 20(a) of the

Exchange Act and Sections 11, 12(a)(2), and 15 of the Securities Act , which named additional

plaintiffs, including Hawaii.

       C.      WHEREAS, on April 17, 2015, Petrobras, PGF, and the Underwriter Defendants

filed a motion to dismiss the CAC, and on July 10, 2015, the District Court granted in part and

denied in part the motion to dismiss the CAC. Among other decisions, the District Court

dismissed claims relating to certain debt securities issued in 2012 under the Securities Act as

time barred by the applicable statute of repose, and ruled claims relating to securities purchased

on the Brazilian stock exchange (the “BOVESPA”) must be arbitrated, as established in

Petrobras’s bylaws. The District Court also ruled that claims under Section 11 of the Securities

Act were dismissed to the extent they were based on purchases of the Petrobras notes issued in

2013 made after August 11, 2014. The District Court rejected other arguments presented in the

motion to dismiss the CAC, and, as a result, the case continued with respect to those claims.

       D.      WHEREAS, on July 16, 2015, Lead Plaintiff filed its Consolidated Second

Amended Class Action Complaint (“SAC”), and on September 1, 2015, Lead Plaintiff filed its

Consolidated Third Amended Class Action Complaint (“TAC”), both alleging substantially

similar claims against certain of the Defendants as the CAC and naming an additional Defendant.

The TAC added North Carolina as an additional plaintiff, and named additional defendants Paulo

Roberto Costa, Jose Carlos Cosenza, Renato de Souza Duque, Guillherme de Oliveira Estrella,




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Jose Miranda Formigli Filho and Petrobras America Inc. In an order dated December 20, 2015,

the District Court dismissed with prejudice the claims of Class Representatives under Section 11

of the Securities Act to the extent they were based on purchases of Petrobras notes issued in

2014 made after May 15, 2015.

          E.   WHEREAS, on October 15, 2015, Class Representatives filed a motion for class

certification, appointment of class representatives, and appointment of class counsel, which the

Petrobras Defendants and the Underwriter Defendants opposed on November 6, 2015, and which

was fully briefed by November 23, 2015.

          F.   WHEREAS, on November 30, 2015, Plaintiffs filed their Consolidated Fourth

Amended Class Action Complaint (“FAC”). On December 20, 2015, the District Court granted

in part and denied in part Defendant’s motion to dismiss the FAC. On December 23, 2015,

Defendant PwC Brazil moved to dismiss the claims against it in the FAC. By Order dated

February 19, 2016, the District Court granted in part and denied in part PwC Brazil’s motion to

dismiss. PwC Brazil’s motion was granted with respect to the Section 10(b) claim, but denied

with respect to the Section 11 claim. By Order entered May 5, 2016, the District Court denied

USS’s request for leave to amend the FAC to assert a new Section 10(b) claim against PwC

Brazil.

          G.   WHEREAS, on February 2, 2016, the District Court issued its Opinion and Order

granting Plaintiffs’ motion for class certification, appointment of class representatives, and

appointment of class counsel (“Class Certification Order”). The District Court certified a

Securities Act class and an Exchange Act class, appointed USS as Class Representative for the

Exchange Act class, and appointed North Carolina and Hawaii as Class Representatives for the

Securities Act class. The District Court also appointed Pomerantz LLP as Class Counsel.




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         H.    WHEREAS, on February 16, 2016, the Petrobras Defendants and the Underwriter

Defendants requested leave to appeal the Class Certification Order to the United States Court of

Appeals for the Second Circuit (the “Second Circuit”). On June 15, 2016, the Second Circuit

granted the petition for leave to appeal the Class Certification order pursuant to Fed. R. Civ. P.

23(f).

         I.    WHEREAS, on June 27, 2016 and June 29, 2016, the Petrobras Defendants and

Plaintiffs each moved for partial summary judgment as to certain claims asserted by Plaintiffs

and, on June 27, 2016, the Underwriter Defendants and certain of the Individual Defendants

moved for summary judgment as to all claims asserted by the Plaintiffs.

         J.    WHEREAS, the District Court had set a trial date of September 19, 2016, but on

June 28, 2016, before the motions for partial summary judgment were fully briefed, the Petrobras

Defendants and Underwriter Defendants moved for a stay of the Action and all District Court

proceedings consolidated with the Action until issuance of a mandate by the Second Circuit,

pending consideration of Defendants’ appeal of the Class Certification Order pursuant to Fed. R.

Civ. P. 23(f), and on August 2, 2016, the Second Circuit granted that motion.

         K.    WHEREAS, on July 7, 2017, the Second Circuit entered an order, vacating the

class certification order, and reversing in part and affirming in part, and remanding to the District

Court for further proceedings. Among other things, the Second Circuit vacated the District

Court’s Order granting class certification and rejected the argument that the class certification

order defined classes that were not ascertainable and determined that the classes were

ascertainable. The Second Circuit remanded the case for the District Court to consider whether

the proposed classes satisfied the predominance requirement. Pursuant to Federal Rule of




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Appellate Procedure 41, the mandate was to issue in 21 days absent further order of the Second

Circuit.

       L.      WHEREAS, on July 21, 2017, before the mandate was to issue, the Petrobras

Defendants and the Underwriter Defendants filed a Petition for Panel Rehearing and Rehearing

en banc, staying issuance of the mandate, which the Second Circuit denied on August 24, 2017.

On August 30, 2017, within the period permitted by the Federal Rules of Appellate Procedure,

the Petrobras Defendants and Underwriter Defendants filed an unopposed motion to stay the

issuance of the Second Circuit’s mandate pending the filing of a petition for a writ of certiorari to

the United States Supreme Court.

       M.      WHEREAS, on November 1, 2017, the Petrobras Defendants and the Underwriter

Defendants filed at the United States Supreme Court a petition for a writ of certiorari seeking

review of the Second Circuit’s decision affirming, in part, the Class Certification Order on

issues: (1) regarding the proof required to establish a presumption of reliance in securities fraud

cases under Basic Inc. v. Levinson, 485 U.S. 224 (1988) and Halliburton Co. v. Erica P. John

Fund, Inc., 134 S. Ct. 2398 (2014); and (2) whether class membership is required to be

ascertainable through administratively feasible means under Rule 23 of the Federal Rules of

Civil Procedure (the “Petition”). On November 3, 2017, the Second Circuit granted the motion

for a stay of the issuance of its mandate pending the disposition of the Petition and stayed the

issuance of the mandate.

       N.      WHEREAS, on January 3, 2018, the Class Representatives, the Petrobras

Defendants, and the Underwriter Defendants filed a joint motion to defer consideration of the

petition, which the Supreme Court granted on January 16, 2018.




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        O.      WHEREAS, the Plaintiffs and Defendants have engaged in comprehensive

investigation and substantial domestic discovery relating to the claims and the underlying events

and transactions alleged in the FAC, including but not limited to the production of more than 20

million documents, the vast majority in Portuguese, and other information from the Plaintiffs, the

Defendants, and third parties; meeting and conferring on numerous occasions regarding

substantive and procedural discovery issues; serving and responding to requests for answers to

interrogatories, requests for admissions, and requests for production of documents; serving third-

party subpoenas; and obtaining testimony from witnesses through more than 65 depositions of

Plaintiffs, Defendants, third parties, and experts, many of which were taken in Portuguese and

that required certified translators.

        P.      WHEREAS, in addition to discovery in the United States pursuant to the Federal

Rules of Civil Procedure and Local Rules of the District Court, the Plaintiffs and Defendants

engaged in discovery pursuant to either The Hague Convention or IAC in Brazil, United

Kingdom, Netherlands, France, Italy, Switzerland, Monaco and South Korea.

        Q.      WHEREAS, the Class Representatives, the Petrobras Defendants, the Underwriter

Defendants, and PwC Brazil have also researched the applicable law with respect to the claims of

Class Representatives and the other Settlement Class Members (as defined herein) against the

Defendants and the potential defenses thereto, including consulting extensively with experts in

areas requiring specialized knowledge. For example, they retained experts in the fields of

financial accounting and economics, auditing standards, capital markets, and the application of

foreign law and administrative regulations, among others. Such experts assisted in analyzing

complex accounting, auditing and disclosure issues, foreign law, and estimating potential

damages. Class Representatives designated six (6) experts and Defendants designated fifteen




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(15) experts, each of whom prepared and submitted substantial expert reports and were then

examined in depositions.

         R.    WHEREAS, the Class Representatives, the Petrobras Defendants, the Underwriter

Defendants, PwC Brazil, and other Defendants also conducted extensive motion practice. In

addition to the Petrobras Defendants’, the Underwriter Defendants’ and PwC Brazil’s several

motions to dismiss the Action, described above, the Class Representatives, the Petrobras

Defendants, the Underwriter Defendants, PwC Brazil, and other Defendants also filed several

procedural motions, including discovery motions, Class Representatives’ class certification

motion, and competing summary judgment motions that attached hundreds of exhibits. Also, as

described above, the Class Representatives, the Petrobras Defendants, and the Underwriter

Defendants engaged in extensive briefing with respect to certain Defendants’ appeal at Court of

Appeals, as well as certain Defendants’ petition for certiorari to the United States Supreme

Court.

         S.    WHEREAS, the Class Representatives, the Petrobras Defendants, the Underwriter

Defendants, PwC Brazil, and other Defendants also substantially prepared for the previously

scheduled trial. At the time the Second Circuit stayed the case pending Defendants’ appeal, the

parties were less than forty-eight (48) days from trial, and were engaged in substantive and

procedural pretrial preparations.

         T.    WHEREAS, extensive motion practice and substantial preparation

notwithstanding, beginning in late 2015 and continuing from time to time thereafter, Lead

Plaintiff, through Class Counsel and on behalf of the Settlement Class, has had settlement

discussions and arm’s-length negotiations with Petrobras Defendants’ Counsel, with the

assistance of a professional mediator, the Honorable Layn R. Phillips (Ret.), with a view to




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achieving the best relief possible consistent with the interests of the Settlement Class Members.

On multiple occasions, the Class Representatives and the Petrobras Defendants exchanged

detailed mediation statements and exhibits that addressed the issues of both liability and

damages, which were submitted to Judge Phillips in advance of mediation sessions. In total,

counsel for Class Representatives and the Petrobras Defendants met during five in-person

mediation sessions from December 2015 through August 2016, during which counsel for Class

Representatives made demands for settlement of the Action on behalf of the Settlement Class

Members and counsel for the Petrobras Defendants made offers for settlement of the Action to

Class Representatives on behalf of the proposed Classes. In addition, counsel engaged in

extensive and arm’s-length discussions and negotiations through written correspondence and by

conference calls with the assistance of Judge Phillips during which the parties forcefully

advocated for their respective positions and attempted to reach a settlement in the best interests

of the Settlement Class Members and acceptable to the Petrobras Defendants.

       U.      WHEREAS, following those mediation sessions and as a result of intensive and

arms-length negotiations, Petrobras, PGF, and Plaintiffs entered into a memorandum of

understanding on December 31, 2017 (the “Petrobras Term Sheet”), setting forth the terms of

their agreement to settle the Action, subject to certain additional terms and conditions, including

the execution of a customary “long-form” stipulation of settlement and related papers.

       V.      WHEREAS, in addition to the Action, more than 30 Individual Actions have been

filed asserting substantially similar claims to those in the Action, including by plaintiffs in

currently pending Individual Actions, who are Settlement Class Members.

       W.      WHEREAS, the plaintiffs in the pending Individual Actions are part of the

Settlement Class and will be entitled to participate in this Settlement and be bound by the terms




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of this Stipulation unless they opt-out pursuant to the terms of this Stipulation, the District

Court’s Preliminary Approval Order, and the Notice.

        X.      WHEREAS, based upon their investigation and extensive negotiation and

mediation efforts, Class Counsel and the Class Representatives have concluded that the terms

and conditions of this Stipulation and the documents incorporated herein by reference are fair,

reasonable and adequate to Class Representatives, the other Settlement Class Members, and the

Settlement Class Members as a whole, and in their best interests, and have agreed to settle the

claims of damages based on the purported inflation of Petrobras Securities raised in the Action

pursuant to the terms and provisions of this Stipulation, after considering, among other things:

(1) the significant risks and costs of continued litigation and trial; (2) the desirability of

permitting the Settlement to be consummated as provided by the terms of this Stipulation; and

(3) the substantial financial benefits that Class Representatives and the other Settlement Class

Members will receive under the proposed Settlement.

        Y.      WHEREAS, throughout the course of the Action, the Defendants have denied and

continue to deny liability and maintain that they have meritorious defenses, including that

Petrobras was a victim of the scheme alleged by the Plaintiffs in the Action and that the

Underwriter Defendants performed appropriate due diligence. Nonetheless, the Defendants have

determined that it is desirable that the Action fully and finally be settled in the manner and upon

the terms and conditions set forth in this Stipulation to avoid the cost, burden and risk of

protracted litigation.

        Z.      WHEREAS, a material reason for the Defendants agreeing to settle the Action

was to avoid the cost, burden, and risk of protracted litigation and trial in the United States.




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       AA.     WHEREAS, Petrobras extensively analyzed and considered the terms of this

Stipulation and the Settlement Amount and the release of the Settled Claims, and determined

after careful and lengthy deliberation that, given the costs and risks of protracted litigation and

the substantial benefits provided by the full release of all Settled Claims and an order of

dismissal, this Settlement is in Petrobras’s best interests and that of its shareholders. This

determination took into account, among other factors, the particularities of United States

procedure and securities laws, including the risk of a verdict advised by a jury, the risk presented

by Securities Act claims which do not require a showing of scienter or reliance, as well as its

assessment of the status of the class action and the nature of such litigation in the United States.

       BB.     WHEREAS, if the Settlement and Judgment become Final, the Settlement Class

Members will receive the Settlement Amount, less any awarded fees and other costs as set forth

herein, based on their alleged damages claimed in the Action.

       CC.     WHEREAS, while each of the Petrobras Defendants will be jointly and severally

liable for the entire Settlement Amount, Petrobras, as the issuer of the American Depositary

Receipts (“ADRs”), will pay that portion of the Settlement Amount that is based on the alleged

damages caused to purchasers of ADRs as a result of the conduct alleged in the Action, and PGF,

as the issuer of the debt securities alleged in the Action will pay that portion of the Settlement

Amount that is based on alleged damages caused to purchasers of the debt securities as a result

of the conduct alleged in the Action.

       DD.     WHEREAS, the Petrobras Defendants and the Underwriter Defendants, state that

they are entering the Stipulation solely to eliminate the burden, risk, and expense of further

protracted litigation. Throughout the course of the Action, the Petrobras Defendants and the

Underwriter Defendants have denied and continue to deny liability and maintain that they have




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meritorious defenses, including that Petrobras was a victim of the scheme alleged by the

Plaintiffs in the Action and that the Underwriter Defendants performed appropriate due

diligence. Nothing in this Stipulation shall be construed or deemed to be evidence of an

admission or concession on the part of the Defendants or Released Parties with respect to any

claim or any fault or liability or wrongdoing or damages whatsoever, or any infirmity in the

defenses that the Defendants or Released Parties have asserted or may assert. Likewise, nothing

in this Stipulation shall be construed or deemed to be evidence of an admission or concession on

the part of any Plaintiff or any Settlement Class Member of any infirmity in the claims asserted

in the Action against any Defendant.

       EE.     WHEREAS, during the mediation sessions, Petrobras—intending to preserve its

rights to recover from the Non-Released Individual Defendants, the Cartel Companies, and

others whom it claims acted without authority and against Petrobras’s interests and injured

Petrobras, for the harm that the Non-Released Individual Defendants caused to Petrobras —

requested that Class Counsel exclude from the proposed release Paulo Roberto Costa, Renato de

Souza Duque, and any other individuals who have been or subsequently are the subjects of a

final judgment of conviction convicting them of a criminal or civil offense related to corruption

under the laws of Brazil, or under the United States Code, arising out of or relating to conduct

related to the allegations asserted in the Action on the understanding that should the Settlement

Class Members recover from the Non-Released Individual Defendants any recovery would

redound to the benefit of the Petrobras Defendants either through a reduction of the Settlement

Amount or, should the Settlement Amount have already been paid, through direct transmittal of

that recovery amount to the Petrobras Defendants. Class Counsel, after conferring with Class

Representatives, agreed to that exclusion and those conditions.




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          FF.   WHEREAS, Petrobras is pursuing claims against the Cartel Companies and the

other parties, including Non-Released Individual Defendants, who have caused harm to

Petrobras, its employees, and its shareholders as a result of the conduct alleged in the Action,

including by joining cases in Brazil against the Cartel Companies and the Non-Released

Individuals as an assistant to the prosecution and wishes to preserve its ability to continue to

pursue actions against such parties and accordingly has excluded from the proposed Release the

Cartel Companies and other third parties that have caused harm to Petrobras, its employees and

its shareholders as a result of the conduct alleged in the Action.

          GG.   WHEREAS, Petrobras reserves the right to seek recovery from the Non-Released

Individual Defendants, the Cartel Companies, and any other Persons or companies that caused

damages to Petrobras, its employees and its shareholders through the conduct alleged in the

Action.

          HH.   WHEREAS, Petrobras has suggested and the Settling Parties have agreed that,

given the conduct alleged in the Action and the nature of the allegations, it would be appropriate,

for the benefit of the Settlement Class Members, in the best interests of the Settlement Class

Members, and consistent with the purposes of the Settlement, for any unclaimed money

remaining in the Net Settlement Fund after all distributions have been made and when the

Claims Administrator, consultation with Class Counsel, has determined that further distributions

would not be cost effective, to be donated by the Escrow Agent to a program in Brazil devoted to

fighting corruption and improving corporate governance, which will be selected by Petrobras and

approved by Class Counsel (as described in ¶ 34).

          II.   WHEREAS, the Settling Parties each represent that they have complied fully with

the strictures of Fed. R. Civ. P. 11.




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        JJ.     WHEREAS, the Class Representatives individually and on behalf of the

Settlement Class Members have, upon consultation with Class Counsel, agreed to fully and

finally settle the Action, in return for specified consideration and dismiss this Action with

prejudice and to fully release all Settled Claims as to the Petrobras Defendants, the Underwriter

Defendants, and the other Released Parties (which does not include Non-Released Individual

Defendants as defined herein), which agreement is memorialized in this Stipulation.

        KK.     WHEREAS the Settling Parties agree that the Settlement Class satisfies the

provisions of Fed. R. Civ. P. 23(b)(3) for a settlement-only class certification, while each

maintain their respective positions, (i) on behalf of Defendants that all Rule 23 requirements

would not be satisfied in a litigated class action and (ii) on behalf of Plaintiffs that all Rule 23

requirements would be satisfied in a litigated class action.

        LL.     WHEREAS Defendants desire, as a material term of this Stipulation of Settlement

and Release, that Class Representatives expressly fully, finally, and forever settle and release,

and that each Settlement Class Member, upon the Effective Date, shall be deemed to have, and

by operation of the judgment shall have, fully, finally, and forever settled and released, any and

all Settled Claims, against the Petrobras Defendants, the Underwriter Defendants, and the other

Released Parties, known or unknown, suspected or unsuspected, contingent or non-contingent,

whether or not concealed or hidden, which now exist, or heretofore have existed, upon any

theory of law or equity now existing or coming into existence in the future, including but not

limited to conduct which is negligent, intentional, with or without malice, or a breach of any

fiduciary, contractual, or other duty, law or rule, without regard to the subsequent discovery or

existence of such different or additional facts, whether arising from federal, state, foreign, or

common law, (i) alleged or which could have been alleged by Class Representatives or




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Settlement Class Members in the Action, or (ii) that have been, could have been, or in the future

can or might be asserted in any federal, state or foreign court, tribunal, forum or proceeding, in

connection with any of the Petrobras Securities, against Petrobras Defendants, the Underwriter

Defendants, or against any other of the Released Parties, arising out of or relating in any manner

to the Action or the allegations, claims, defenses, and counterclaims asserted in the Action based

on the Covered Securities.

       MM. WHEREAS, in return for the consideration described herein, this Stipulation is

intended to fully and finally release, resolve, remise and discharge all the Settled Claims against

the Petrobras Defendants and the Underwriter Defendants, and all of the other Released Parties

(which does not include Non-Released Individual Defendants as defined herein) and to result in

the dismissal of this Action with prejudice.

           TERMS OF STIPULATION AND AGREEMENT OF SETTLEMENT

       NOW, THEREFORE, without any admission or concession of any liability or

wrongdoing or lack of merit in the defenses asserted by or available to the Defendants and the

other Released Parties, IT IS HEREBY STIPULATED AND AGREED by and among Class

Representatives, for themselves and all Settlement Class Members, on the one hand, and the

Petrobras Defendants and Underwriter Defendants, on the other hand, by and through their

respective counsel, that, subject to the approval of the District Court, in consideration of the

benefits flowing to them from the Settlement set forth herein, the Action and the Settled Claims

shall be finally and fully compromised, settled, and released (except as set forth in ¶¶ 8-9 herein),

and the Action shall be dismissed with prejudice against all Defendants, upon and subject to

these terms and conditions set forth herein:




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                                          DEFINITIONS

       1.      As used in this Stipulation, the following capitalized terms have the following

meanings:

                a.     “Action” means the litigation captioned In re Petrobras Securities

Litigation, No. 14-cv-9662 (JSR), filed in the United States District Court for the Southern

District of New York before the honorable Jed S. Rakoff.

               b.      “Attorneys’ Fees Letter” means the agreement entered into by the

Plaintiffs and the Petrobras Defendants, setting forth information and obligations regarding the

payment of attorneys’ fees as set forth in ¶¶ 37-40 herein, the terms of which are incorporated by

reference into this Stipulation and are enforceable upon the District Court’s approval of this

Stipulation as if fully specified herein. A form order approving attorneys’ fees and expenses is

attached hereto as Exhibit E.

               c.      “Authorized Claimant” means a Settlement Class Member who submits a

timely and valid Proof of Claim to the Settlement Administrator, in accordance with the

requirements established by the District Court, which is approved for payment from the Net

Settlement Fund (as defined in ¶ (aa) below).

               d.      “Cartel Company” means an entity that formed part of the cartel described

by the allegations in the Action which conspired to defraud Petrobras.

               e.      “Claimant” means a Person who or that submits a Proof of Claim to the

Settlement Administrator seeking to be potentially eligible to share in the proceeds of the Net

Settlement Fund (as defined in ¶ (aa) below).

               f.      “Claims” means any and all manner of claims, demands, rights, actions,

potential actions, causes of action, liabilities, duties, damages, losses, diminutions in value,




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obligations, agreements, suits, fees, attorneys’ fees, expert or consulting fees, debts, expenses,

costs, sanctions, judgments, decrees, matters, issues and controversies of any kind or nature

whatsoever, whether known or unknown, contingent or absolute, liquidated or not liquidated,

accrued or unaccrued, suspected or unsuspected, disclosed or undisclosed, apparent or not

apparent, foreseen or unforeseen, matured or not matured, which now exist, or heretofore or

previously existed, or may hereafter exist including, but not limited to, any claims arising under

federal, state or foreign law, common law, bankruptcy law, statute, rule, or regulation relating to

alleged fraud, breach of any duty, breach of any contract, negligence, fraudulent conveyance,

avoidance, violations of the federal securities laws, or otherwise, whether individual, class,

direct, derivative, representative, on behalf of others, legal, equitable, regulatory, governmental

or of any other type or in any other capacity.

               g.      “Class Counsel” means Pomerantz LLP, its attorneys, employees, agents,

and its independent contractors who are acting or have acted on behalf or at the direction of it.

               h.      “Class Period” means the time period between January 22, 2010 and July

28, 2015, inclusive.

               i.      “Class Representatives” means Universities Superannuation Scheme

Limited (acting in its capacity as sole corporate trustee of Universities Superannuation Scheme),

North Carolina Department of State Treasurer, and Employees’ Retirement System of the State

of Hawaii.

               j.      “Covered Transaction” means any transaction that satisfies any of the

following criteria: (i) any transaction in a Petrobras Security listed for trading on the New York

Stock Exchange (“NYSE”); (ii) any transaction in a Petrobras Security that cleared or settled

through the Depository Trust Company’s book-entry system; or (iii) any transaction in a




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Petrobras Security to which the United States securities laws apply, including as applicable

pursuant to the Supreme Court’s decision in Morrison v. National Australia Bank, 561 U.S. 247

(2010). A list of the Petrobras Securities that satisfy criteria (i) and/or (ii) is attached hereto as

Exhibit A. Excluded from the definition of Covered Transaction are purchases of any Petrobras

Security on the BOVESPA.

                k.      “District Court” means the United States District Court for the Southern

District of New York.

                l.      “Defendant Claims” means any and all counterclaims and bases for relief,

including without limitation Unknown Claims (as defined in ¶ (rrr) below), that the Defendants,

(including all past and present individual partners and employees), their predecessors, successors

and assigns could have raised in the Action against Class Representatives, Class Counsel, any

other Class Representative counsel, or any Settlement Class Member, that arise out of or relate to

the institution, maintenance, prosecution, or settlement of the Action (other than claims to

enforce the Settlement or the Judgment or under Fed. R. Civ. P. 60(b)(3)), including, but not

limited to, claims for violations of Fed. R. Civ. P. 11, or any other fee or cost-shifting claim.

                m.      “Defendants” shall mean the Petrobras Defendants, the Underwriter

Defendants, the Individual Defendants, Josue Christiano Gomes da Silva, Mariângela Monteiro

Tizatto, Banco Votorantim Nassau Branch, Santander Investment Securities Inc., Petrobras

International Finance Company, PwC Brazil, and any other Person that is or has been at any time

a defendant in this Action.

                n.      “Effective Date” means the date upon which the Settlement contemplated

by this Stipulation shall become effective, as set forth in ¶ 55 below.




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               o.      “Escrow Account” means the account to be established by Class Counsel

and designated for purposes of the Settlement Fund, into which the Settlement Amount will be

paid pursuant to ¶ 3 of this Stipulation and held in escrow under the control of the Escrow Agent,

acting as agents for Class Representatives and the Settlement Class, subject to the terms of this

Stipulation.

               p.      “Escrow Agent” means Huntington Bank, which has been selected by

Class Counsel to be responsible for overseeing, safeguarding, and distributing the Escrow

Account, acting as agent for the Settlement Class, in accordance with the terms of the Escrow

Agreement and this Stipulation.

               q.      “Escrow Agreement” means an agreement to be entered into between

Class Counsel and the Escrow Agent in a form to be agreed to by Petrobras Defendants’ Counsel

governing the Escrow Agent’s responsibilities and obligations with respect to the Escrow

Account.

               r.      “Exchange Act” means the Securities Exchange Act of 1934.

               s.      “Exchange Act Class” means all Persons who, during the Class Period,

purchased or otherwise acquired Petrobras Securities, including debt securities issued by PifCo

and/or PGF, on the New York Stock Exchange or pursuant to other Covered Transactions,

excluding Defendants, current or former officers and directors of Petrobras, members of their

immediate families and their legal representatives, heirs, successors or assigns, any entity in

which Defendants have or had a controlling interest, and any Persons who have been or

subsequently are the subject of a final judgment of conviction convicting them of a criminal or

civil offense related to corruption under the laws of Brazil, or under the United States Code,

arising out of or relating to conduct related to the allegations asserted in the Action. For




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avoidance of doubt, the foregoing exclusion shall not cover “Investment Vehicles,” which for

these purposes shall mean any investment company, pooled investment fund or separately

managed account (including, but not limited to, mutual fund families, exchange-traded funds,

fund of funds, private equity funds, real estate funds, hedge funds, and employee benefit plans)

in which any Underwriter Defendant or any of its affiliates has or may have a direct or indirect

interest or as to which any Underwriter Defendant or any of its affiliates may act as an

investment advisor, general partner, managing member or in other similar capacity.

               t.      “Final” means, with respect to any order of court, including, without

limitation, the Judgment, that such order represents a final and binding determination of all

issues within its scope and is not subject to further review on appeal or otherwise. Without

limitation, an order becomes “Final” when: (i) no appeal has been filed and the prescribed time

for commencing any appeal has expired; or (ii) an appeal has been filed and either (a) the appeal

has been dismissed and the prescribed time, if any, for commencing any further appeal has

expired, or (b) the order has been affirmed in all material respects and the prescribed time, if any,

for commencing any further appeal has expired. For purposes of this paragraph, an “appeal”

includes appeals as of right, discretionary appeals, interlocutory appeals, proceedings involving

any writs, including writs of certiorari or mandamus, and any other proceedings of like kind.

Any appeal or other proceeding pertaining solely to an order solely adopting or approving a Plan

of Allocation or solely to any order issued with respect to any application for attorneys’ fees and

expenses pursuant to ¶¶ 36-45 below, shall not in any way delay or preclude the Judgment from

becoming Final.

               u.      “Governmental Authority” means any supranational, federal, national,

state, provincial, local or similar government, governmental, regulatory or administrative

authority, agency or commission or any court, tribunal, or judicial or arbitral body.


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               v.      “Hawaii” means Employees’ Retirement System of the State of Hawaii.

               w.      Individual Actions” means Abu Dhabi Investment Authority v. Petróleo

Brasileiro S.A. – Petrobras, et al., No. 17-cv-1821 (JSR); Altamimi v. Petróleo Brasileiro S.A. –

Petrobras, et al., No. 16-cv-2686 (JSR); Aura Capital Ltd. v. Petróleo Brasileiro S.A. –

Petrobras, et al., No. 15-cv-4951 (JSR); Bizantine Investments Inc. v. Petróleo Brasileiro S.A. –

Petrobras, et al., No. 16-cv-9437 (JSR); Central States Southeast and Southwest Areas Pension

Fund v. Petróleo Brasileiro S.A. – Petrobras, et al., No. 15-cv-3911 (JSR); College Retirement

Equities Fund, et al. v. Petróleo Brasileiro S.A. – Petrobras, et al., No. 17-cv-1820 (JSR);

Massachusetts Mutual Life Insurance Company, et al. v. Petróleo Brasileiro S.A. – Petrobras, et

al., 15-cv-9243 (JSR); NN Investment Partners B.V., et al. v. Petróleo Brasileiro S.A. –

Petrobras, et al., No. 15-cv-4226 (JSR); Pacific Funds, et al. v. Petróleo Brasileiro S.A., et al.,

No. 16-cv-2013 (JSR); The Hartford Mutual Funds, Inc., et al. v. Petróleo Brasileiro S.A S.A. –

Petrobras, et al., 15-cv-9182 (JSR); The Prudential Insurance Company of America, et al. v.

Petróleo Brasileiro S.A., et al., No. 16-cv-7192 (JSR); Washington State Investment Board v.

Petróleo Brasileiro S.A. – Petrobras, et al., No. 15-cv-3923 (JSR); and WGI Emerging Markets

Fund, LLC, et al. v. Petróleo Brasileiro S.A. – Petrobras, et al., No. 15-cv-7568 (JSR).

               x.       “Individual Defendants” means Almir Guilherme Barbassa, Jose Carlos

Cosenza, Paulo Roberto Costa, Renato de Souza Duque, Guillherme de Oliveira Estrella, Maria

das Graca Silva Foster, Jose Miranda Formigli Filho, José Sergio Gabrielli, Silvio Sinedino

Pinheiro, Daniel Lima de Oliveira, José Raimundo Brandão Pereira, Sérvio Túlio da Rosa

Tinoco, Paulo Jose Alves, Gustavo Tardin Barbosa, Alexandre Quintão Fernandes, Marcos

Antonio Zacarias, Cornelis Franciscus Jozef Looman, and Theodore M. Helms.




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               y.      “Judgment” means the order and final judgment to be entered by the

District Court following the settlement fairness hearing (“Settlement Hearing”) approving the

Settlement, approving the release of the Settled Claims, and dismissing the Settled Claims with

prejudice and without costs to any party, substantially in the form attached hereto as Exhibit C.

               z.      “Lead Plaintiff” means Universities Superannuation Scheme Limited

(acting as sole corporate trustee of Universities Superannuation Scheme).

               aa.     “Net Settlement Fund” means the Settlement Fund, less all fees and

expenses awarded by the District Court to Class Counsel (or any other Class Representative

counsel designated by Class Counsel), any award to the Class Representatives approved by the

District Court, any Taxes, and any notice and administration costs approved by the District

Court.

               bb.     “Notice” means the Notice of Proposed Settlement of Class Action and

Settlement Hearing, which notice shall, subject to District Court approval, be substantially in the

form attached hereto as Exhibit 1 to Exhibit B, which is to be sent to potential Settlement Class

Members.

               cc.      “Non-Released Individual Defendants” means Paulo Roberto Costa,

Renato de Souza Duque, and any other individual who has been or subsequently is the subject of

a final judgment of conviction convicting them of a criminal or civil offense related to corruption

under the laws of Brazil, or under the United States Code, arising out of or relating to conduct

related to the allegations asserted in the Action.

               dd.     “North Carolina” means North Carolina Department of State Treasurer.




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               ee.     “Opt-Out Threshold” means certain conditions set forth in the

Supplemental Agreement (as defined in ¶ (kkk) below) under which this Stipulation may be

withdrawn or terminated at the sole discretion of the Petrobras Defendants.

               ff.     “PAI” means Petrobras America Inc.

               gg.     “Person” or “Persons” means any natural or legal person, including

without limitation any individual, corporation (including all divisions and subsidiaries), general

or limited partnership, association, joint stock company, joint venture, limited liability company,

professional corporation, estate, legal representative, trust, unincorporated association,

government or any political subdivision or agency thereof, and any other business or legal entity,

as well as each of their spouses, partners in a state-recognized domestic partnership, civil union,

or marriage, heirs, predecessors, successors, representatives, agents, trustees, estates,

administrators, executors, or assignees.

               hh.     “Petrobras” means Petróleo Brasileiro S.A.– Petrobras.

               ii.     “Petrobras Defendants” means Petrobras, Petrobras Global Finance B.V.,

and Petrobras America Inc.

               jj.     “Petrobras Defendants’ Counsel” means Cleary Gottlieb Steen &

Hamilton LLP.

               kk.     “Petrobras Securities” means the securities of Petrobras, including debt

securities issued by PifCo and/or PGF, purchased or otherwise acquired during the Class Period

on the New York Stock Exchange or pursuant to other Covered Transactions and debt securities

issued by Petrobras, PifCo, and/or PGF that were purchased or otherwise acquired during the

Class Period in Covered Transactions, directly in, pursuant to and/or traceable to a May 13, 2013

public offering registered in the United States and/or a March 10, 2014 public offering registered




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in the United States before Petrobras made generally available to its security holders an earnings

statement covering a period of at least twelve months beginning after the effective date of the

offerings.

               ll.     “PGF” means Petrobras Global Finance B.V.

               mm.     “PifCo” means Petrobras International Finance Company S.A.

               nn.     “Plaintiffs” means the Class Representatives.

               oo.     “Plan of Allocation” means the plan for the allocation of the Net

Settlement Fund as forth in the Notice. A form order approving the Plan of Allocation is

attached hereto as Exhibit D.

               pp.     “Preliminary Approval Order” means the order, substantially in the form

attached hereto as Exhibit B, to be entered by the District Court that will, for the limited

purposes of this Settlement, preliminarily approve the Settlement and direct Notice to be

provided to the Settlement Class.

               qq.     “Proof of Claim” means the Proof of Claim and Release Form,

substantially in the form attached hereto as Exhibit Y to the Notice, to be approved by the

District Court and disseminated to Settlement Class Members at a future date, which Settlement

Class Members shall be required to complete and return to the Settlement Administrator in order

to substantiate their entitlement to a share of the Net Settlement Fund.

               rr.     “PSLRA” means the Private Securities Litigation Reform Act of 1995.

               ss.     “Publication Notice” means the Summary Notice of Proposed Settlement

and Settlement Hearing, substantially in the form attached hereto as Exhibit 2 to Exhibit B.

               tt.     “PwC Brazil” means PricewaterhouseCoopers Auditores Independentes.




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               uu.     “Recognized Claim” means the amount of an Authorized Claimant’s loss

that is determined by the Settlement Administrator to be compensable under the Plan of

Allocation.

               vv.     “Released Parties” means, in any capacity, Defendants and each of their

respective present and former parents, subsidiaries, divisions and affiliates; the present and

former employees, shareholders, partners, officers and directors, of each of them; the present and

former attorneys, accountants, auditors, underwriters, advisors, trustees, administrators,

fiduciaries, consultants, representatives, insurers, and agents of each of them; and the

predecessors, heirs, successors and assigns of each, all in their capacities as such, except that the

Released Parties shall not include Non-Released Individual Defendants. For the avoidance of

doubt, the release of PwC Brazil and its affiliates shall be subject to the terms of the November

30, 2017 Stipulation of Settlement, as amended, entered into between Class Representatives and

PwC Brazil.

               ww.     “Second Circuit” means the United States Court of Appeals for the Second

Circuit.

               xx.     “Securities Act” means the Securities Act of 1933.

               yy.     “Securities Act Class” means all Persons who purchased or otherwise

acquired debt securities issued by Petrobras, PifCo, and/or PGF, in Covered Transactions,

directly in, pursuant to and/or traceable to a May 13, 2013 public offering registered in the

United States and/or a March 10, 2014 public offering registered in the United States before

Petrobras made generally available to its security holders an earnings statement covering a

period of at least twelve months beginning after the effective date of the offerings (August 11,

2014 in the case of the May 13, 2013 public offering and May 15, 2015 in the case of the March




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10, 2014 public offering), excluding Defendants, current or former officers and directors of

Petrobras, members of their immediate families and their legal representatives, heirs, successors

or assigns, any entity in which Defendants have or had a controlling interest, and any Persons

who have been or subsequently are the subject of a final judgment of conviction convicting them

of a criminal or civil offense related to corruption under the laws of Brazil, or under the United

States Code, arising out of or relating to conduct related to the allegations asserted in the Action.

The foregoing exclusion shall not cover “Investment Vehicles,” which for these purposes shall

mean any investment company, pooled investment fund or separately managed account

(including, but not limited to, mutual fund families, exchange-traded funds, fund of funds,

private equity funds, real estate funds, hedge funds, and employee benefit plans) in which any

Underwriter Defendant or any of its affiliates has or may have a direct or indirect interest or as to

which any Underwriter Defendant or any of its affiliates may act as an investment advisor,

general partner, managing member or in other similar capacity.

               zz.     “Settled Claims” shall mean any and all Claims, including without

limitation Unknown Claims (as defined in ¶ (rrr) below), (a) alleged or which could have been

alleged by Class Representatives or Settlement Class Members in the Action, or (b) that have

been, could have been, or in the future can or might be asserted in any federal, state or foreign

court, tribunal, forum or proceeding, in connection with any of the Petrobras Securities, whether

arising from federal, state, foreign, or common law, against the Petrobras Defendants, the

Underwriter Defendants, or against any other of the Released Parties, arising out of or relating in

any manner to the Action or the allegations, claims, defenses, and counterclaims asserted in the

Action, except for Claims to enforce the Settlement, whether arising under state, federal, or

common law. Settled Claims shall include claims against Defendants and Released Parties




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pursuant to the PSLRA for contribution/indemnity or claims that are otherwise dependent on

liability in this Action and claims for violations of Fed. R. Civ. P. 11, or any other fee or cost-

shifting claim.

                  aaa.   “Settlement” means the settlement contemplated by this Stipulation.

                  bbb.   “Settlement Administrator” or “Claims Administrator” means Garden City

Group, the firm retained by Class Counsel which shall administer the Settlement, including

sending a mailed Notice to Settlement Class Members in the form attached hereto as Exhibit 1 to

Exhibit B, arranging for publication of the Publication Notice in the form attached hereto as

Exhibit 2 to Exhibit B, processing Proofs of Claim, and performing such other administrative

functions as required under this Stipulation.

                  ccc.   “Settlement Administration Account” means an interest bearing account to

be maintained by the Settlement Administrator for payment of the expenses of administering the

Settlement.

                  ddd.   “Settlement Amount” means two billion nine hundred fifty million dollars

(US$2,950,000,000.00), paid or caused to be paid by the Petrobras Defendants in the following

installments: (1) nine hundred eighty three million dollars (US$983,000,000.00) within ten (10)

days of the Preliminary Approval Order; (2) nine hundred eighty three million dollars

(US$983,000,000.00) within ten (10) days of final approval by the District Court of the

Settlement; and (3) nine hundred eighty four million dollars (US$984,000,000.00) within six (6)

months of final approval by the District Court of the Settlement or by January 15, 2019,

whichever is later.

                  eee.   “Settlement Class” means, solely for the purposes of effectuating this

Settlement: (i) the Exchange Act Class; and (ii) the Securities Act Class as defined herein.




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               fff.    “Settlement Class Member” means a Person that is a member of the

Settlement Class that did not exclude himself, herself, or itself by filing a timely request for

exclusion in accordance with the requirements set forth in the Preliminary Approval Order and

the Notice.

               ggg.    “Settlement Fund” means the Settlement Amount or installments thereof

paid pursuant to the Stipulation plus any and all interest earned thereon in the Escrow Account.

               hhh.    “Settlement Fund Distribution Order” means the order by the District

Court approving the Settlement Administrator’s administrative determinations concerning the

acceptance and rejection of the Proofs of Claim submitted herein; approving of any fees and

expenses not previously applied for, including the fees and expenses of the Settlement

Administrator; and directing distribution of the Net Settlement Fund to the Authorized

Claimants.

               iii.    “Settlement Hearing” means the hearing set by the District Court under

Fed. R. Civ. P. 23(e)(2) to consider final approval of the Settlement.

               jjj.    “Settling Parties” means Class Representatives, on behalf of themselves

and the Settlement Class Members, the Petrobras Defendants, and the Underwriter Defendants.

               kkk.    “Supplemental Agreement” means the agreement entered into by the

Settling Parties, setting forth certain conditions under which this Stipulation may be withdrawn

or terminated at the sole discretion of any of the Defendants, as set forth in ¶¶ 62-63 herein.

               lll.    “Supreme Court” means the United States Supreme Court.

               mmm. “Taxes” means (i) any and all taxes, duties and similar charges (including

any estimated taxes, withholdings, interest or penalties and interest thereon) arising in any

jurisdiction with respect to the income or gains earned by or in respect of the Settlement Fund,




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including, without limitation, any taxes or tax detriments that may be imposed upon the

Defendants or their counsel with respect to any income earned by the Settlement Fund for any

period during which the Settlement Fund may be finally determined to not qualify as a Qualified

Settlement Fund (within the meaning contemplated in ¶ 14 herein) for federal or state income tax

purposes; (ii) the reasonable expenses and costs incurred in connection with the taxation of the

Settlement Fund (including, without limitation, reasonable expenses of tax attorneys and

accountants).

                nnn.   “Term Sheet” means the agreement entered into by the Plaintiffs,

Petrobras, and PGF on December 31, 2017, setting forth the terms of their agreement to settle the

Action, subject to certain additional terms and conditions, which Term Sheet shall be superseded

and replaced by this Stipulation of Settlement.

                ooo.   “Termination Notice” means written notice provided by any of the Settling

Parties to counsel for the other Settling Parties regarding its election to terminate its participation

in the Settlement within thirty (30) days following any of the events set forth in ¶ 57 herein.

                ppp.   “Underwriter Defendants” means BB Securities Ltd., Citigroup Global

Markets Inc., J.P. Morgan Securities LLC, Itau BBA USA Securities, Inc., Morgan Stanley &

Co. LLC, HSBC Securities (USA) Inc., Mitsubishi UFJ Securities (USA), Inc. (n/k/a MUFG

Securities Americas Inc.), Merrill Lynch, Pierce, Fenner & Smith Incorporated, Standard

Chartered Bank, Bank of China (Hong Kong) Limited, Banco Bradesco BBI S.A., Banca IMI

S.p.A. and Scotia Capital (USA) Inc.

                qqq.   “Underwriter Defendants’ Counsel” means Skadden, Arps, Slate, Meagher

& Flom LLP.




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               rrr.    “Unknown Claims” means any and all Claims which Class

Representatives or any other Settlement Class Member does not know or suspect to exist in his,

her or its favor at the time of the release of such claims, and any Defendant Claims which any

Defendant or any other Released Party does not know or suspect to exist in his, her or its favor at

the time of the release of such claims, which if known by him, her or it might have affected his,

her or its decision(s) with respect to the Settlement.

               sss.    “USS” means Universities Superannuation Scheme Limited (acting as sole

corporate trustee of Universities Superannuation Scheme).

                                   CLASS CERTIFICATION

       2.      Solely for the purpose of effectuating the Settlement, the Settling Parties stipulate

and agree to: (a) certification of the Action as a class action, pursuant to Fed. R. Civ. P. 23(a)

and (b)(3), on behalf of the Settlement Class; (b) the District Court making the necessary

findings to certify a class action pursuant to Fed. R. Civ. P. 23(a) and (b)(3); (c) appointment of

USS, North Carolina, and Hawaii as Class Representatives; and (d) appointment of Pomerantz

LLP as Class Counsel pursuant to Fed. R. Civ. P. 23(g). Plaintiffs will move for entry of the

Preliminary Approval Order, which will certify the Action to proceed as a class action for

settlement purposes only.

                              SETTLEMENT CONSIDERATION

       3.      In full and complete settlement of the Settled Claims, the Petrobras Defendants

shall pay or cause to be paid the Settlement Amount as follows: Payment into the Escrow

Account of (1) nine hundred eighty three million dollars (US$983,000,000.00) within ten (10)

days of the Preliminary Approval Order; (2) nine hundred eighty three million dollars

(US$983,000,000.00) within ten (10) days of final approval by the District Court of the




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Settlement; and (3) nine hundred eighty four million dollars (US$984,000,000.00) within six (6)

months of final approval by the District Court of the Settlement or by January 15, 2019,

whichever is later.

       4.      To the extent Class Representatives obtain monetary recovery against or from the

Non-Released Individual Defendants on behalf of the Settlement Class prior to the payment of

the Settlement Amount, the Settlement Amount shall be reduced by any amounts received from

the Non-Released Individual Defendants. Any amounts recovered against or from the Non-

Released Individual Defendants by Class Representatives or Settlement Class Members with

respect to the Covered Transactions individually and not behalf of the Settlement Class, or after

the payment of the Settlement Amount and/or the entry of a Final Judgment, shall be paid to the

Petrobras Defendants.

       5.      The Escrow Agent shall use the Settlement Fund to pay fees and expenses

awarded by the District Court to Class Counsel for distribution by Class Counsel in its discretion,

after consultation with Class Representatives, among itself and other Class Representative

counsel involved in the Action, any compensatory award to the Class Representatives, any

Taxes, and any notice and administration costs (subject to the limits set forth in ¶ 19) approved

by the District Court, and any other fees and costs approved by the District Court. The

remaining balance shall be the Net Settlement Fund and shall be distributed to Authorized

Claimants as provided herein in ¶¶ 31-35.

       6.      The obligations incurred pursuant to this Stipulation shall be in full and final

disposition and settlement of all Settled Claims as against the Petrobras Defendants, the

Underwriter Defendants, and the other Released Parties. All payments made to Authorized

Claimants pursuant to the Plan of Allocation as approved by the District Court, the fees and




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expenses awarded by the District Court to Class Counsel for distribution by Class Counsel in its

discretion among itself and other Class Representative counsel involved in the Action, any

compensatory award to Class Representatives as awarded by the District Court, and all

administrative and other approved expenses of the Settlement, including Taxes, Escrow Agent

fees, and any notice and administration costs, shall be paid by the Escrow Agent from the

Settlement Fund.

       7.      This is not a claims-made settlement and if the Settlement and Judgment become

Final, there shall be no reversion whatsoever of the Settlement Amount to the Petrobras

Defendants except as provided in this Stipulation. The Escrow Agent shall not disburse the

Settlement Fund, except as provided in this Stipulation and in accordance with the Escrow

Agreement, by an order of the District Court, or with the written agreement of counsel for all of

the Settling Parties pursuant to this Stipulation.

                                     RELEASE OF CLAIMS

       8.      The obligations incurred pursuant to this Stipulation shall be in full and final

disposition of the Action as to the Petrobras Defendants, Underwriter Defendants and the other

Released Parties, and shall fully and finally release any and all Settled Claims against the

Petrobras Defendants, the Underwriter Defendants and Released Parties (which does not include

the Non-Released Individual Defendants as defined herein).

       9.      Upon the Effective Date of this Settlement, Class Representatives and Settlement

Class Members (whether or not they submit a Proof of Claim or share in the Settlement Fund),

on behalf of themselves and each of their respective predecessors, successors, assigns, parents,

subsidiaries and other affiliates, officers, directors, employees, partners, members, managers,

owners, trustees, beneficiaries, advisors, consultants, insurers, reinsurers, stockholders, investors,




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nominees, custodians, attorneys, heirs, representatives, administrators, executors, devisees,

legatees, and estates, any Person(s) they represent in connection with the Action or in connection

with the purchase or sale of any Petrobras Securities during the Class Period, and any Person(s)

who claims through or on behalf of them, shall be deemed by this Settlement and by operation of

the Judgment to, and shall, release, waive, dismiss, and forever discharge the Settled Claims as to

the Petrobras Defendants, the Underwriter Defendants, and the other Released Parties, and shall

be deemed by this Settlement to, and shall be permanently and forever barred and enjoined from

asserting, commencing or prosecuting in any forum each and every one of the Settled Claims

against the Petrobras Defendants, the Underwriter Defendants, and the other Released Parties.

The release as set forth above is a material term to this Stipulation. It is an important element to

the Petrobras Defendants’ and Underwriter Defendants’ participation in this Settlement that the

Released Parties obtain the fullest possible release from liability to any Class Representative,

Plaintiffs, or Settlement Class Member relating to the Settled Claims, and it is the intention of the

Settling Parties that any liability of the Released Parties relating to the Settled Claims be

eliminated. For the avoidance of doubt, the release of PwC Brazil and its affiliates shall be

subject to the terms of the November 30, 2017 Stipulation of Settlement, as amended, entered

into between Class Representatives and PwC Brazil.

       10.     Upon the Effective Date of this Settlement, the Petrobras Defendants, the

Underwriter Defendants and the Individual Defendants on behalf of themselves, including all

past and present individual partners and employees, their predecessors, successors and assigns,

shall be deemed by this Settlement to, and shall release, waive, dismiss, and forever discharge

the Defendant Claims against Class Representatives, Settlement Class Members, and their

attorneys, agents, experts, and investigators, and shall be deemed by this Settlement to, and shall




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be forever enjoined from prosecuting each and every one of the Defendant Claims against any of

such Persons. It is likewise an important element to Class Representatives and Class Counsel’s

participation in this Settlement that they, the Settlement Class Members, and their attorneys,

agents, experts, and investigators obtain the fullest possible release from liability to the Petrobras

Defendants, the Underwriter Defendants, and the Individual Defendants relating to the

Defendant Claims, and it is the intention of the Settling Parties that any such liability relating to

the Defendant Claims be eliminated.

       11.     WITH RESPECT TO ANY AND ALL SETTLED CLAIMS AGAINST THE

PETROBRAS DEFENDANTS, THE UNDERWRITER DEFENDANTS, AND THE OTHER

RELEASED PARTIES, THE SETTLING PARTIES STIPULATE AND AGREE THAT, UPON

THE EFFECTIVE DATE, THE CLASS REPRESENTATIVES SHALL EXPRESSLY WAIVE,

AND EACH OF THE SETTLEMENT CLASS MEMBERS SHALL BE DEEMED TO HAVE

WAIVED, AND BY OPERATION OF THE JUDGMENT SHALL HAVE WAIVED, THE

PROVISIONS, RIGHTS AND BENEFITS OF CALIFORNIA CIVIL CODE § 1542, WHICH

PROVIDES:

                       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                       WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
                       EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
                       THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
                       HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
                       WITH THE DEBTOR.

THE CLASS REPRESENTATIVES SHALL EXPRESSLY WAIVE AND EACH OF THE

SETTLEMENT CLASS MEMBERS SHALL BE DEEMED TO HAVE, AND BY

OPERATION OF THE JUDGMENT SHALL HAVE, EXPRESSLY WAIVED ANY AND ALL

PROVISIONS, RIGHTS AND BENEFITS CONFERRED BY ANY LAW OF ANY STATE,

TERRITORY, OR COUNTRY OR PRINCIPLE OF COMMON LAW, WHICH IS SIMILAR,



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COMPARABLE OR EQUIVALENT TO CALIFORNIA CIVIL CODE § 1542.

SETTLEMENT CLASS MEMBERS MAY HEREAFTER DISCOVER FACTS IN ADDITION

TO OR DIFFERENT FROM THOSE WHICH HE, SHE OR IT NOW KNOWS OR BELIEVES

TO BE TRUE WITH RESPECT TO THE SUBJECT MATTER OF THE SETTLED CLAIMS,

BUT THE CLASS REPRESENTATIVES SHALL EXPRESSLY FULLY, FINALLY AND

FOREVER SETTLE AND RELEASE, AND EACH SETTLEMENT CLASS MEMBER, UPON

THE EFFECTIVE DATE, SHALL BE DEEMED TO HAVE, AND BY OPERATION OF THE

JUDGMENT SHALL HAVE, FULLY, FINALLY AND FOREVER SETTLED AND

RELEASED, ANY AND ALL SETTLED CLAIMS, KNOWN OR UNKNOWN, SUSPECTED

OR UNSUSPECTED, CONTINGENT OR NON-CONTINGENT, WHETHER OR NOT

CONCEALED OR HIDDEN, WHICH NOW EXIST, OR HERETOFORE HAVE EXISTED,

UPON ANY THEORY OF LAW OR EQUITY NOW EXISTING OR COMING INTO

EXISTENCE IN THE FUTURE, INCLUDING, BUT NOT LIMITED TO, CONDUCT WHICH

IS NEGLIGENT, INTENTIONAL, WITH OR WITHOUT MALICE, OR A BREACH OF ANY

FIDUCIARY, CONTRACTUAL, OR OTHER DUTY, LAW OR RULE, WITHOUT REGARD

TO THE SUBSEQUENT DISCOVERY OR EXISTENCE OF SUCH DIFFERENT OR

ADDITIONAL FACTS. THE CLASS REPRESENTATIVES ACKNOWLEDGE, AND THE

SETTLEMENT CLASS MEMBERS SHALL BE DEEMED BY OPERATION OF THE

JUDGMENT TO HAVE ACKNOWLEDGED, THAT THE FOREGOING WAIVER WAS

SEPARATELY BARGAINED FOR AND A KEY ELEMENT OF THE SETTLEMENT OF

WHICH THIS RELEASE IS A PART.

       12.    The proposed Judgment will provide that, to the fullest extent permitted by law,

all Persons shall be permanently enjoined, barred and restrained from bringing, commencing,




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prosecuting or asserting any claims, actions, or causes of action for contribution, indemnity or

otherwise against the Petrobras Defendants, the Underwriter Defendants or any of the other

Released Parties seeking as damages or otherwise the recovery of all or any part of any liability,

judgment or settlement which they pay or are obligated to pay or agree to pay to the Class

Representatives or any Settlement Class Member arising out of, relating to or concerning any

acts, facts, statements or omissions that were or could have been alleged in the Action, whether

arising under state, federal or foreign law as claims, cross-claims, counterclaims, third-party

claims or otherwise, in the District Court or any other federal, state, or foreign court, or in any

arbitration proceeding, administrative agency proceeding, tribunal, or any other proceeding or

forum.

         13.    Subject to the last sentence below, neither Class Representatives, Class Counsel

nor any Settlement Class Member shall provide any support or assistance to the plaintiffs in the

Individual Actions, or to any plaintiff in any other pending or future actions in any federal, state

or foreign court, tribunal, forum or proceeding, asserting allegations that could have been

asserted in the Action in pursuing their claims against the Petrobras Defendants, the Underwriter

Defendants, or the other Released Parties. Nothing in this Stipulation, however, is intended to

(i) restrict or suppress relevant testimony by any fact witness; (ii) affect the provision of

documents or information in response to any lawful subpoena, notice, or discovery device;

(iii) prohibit any investment manager or other professional from providing information at the

request of its clients; or (iv) restrict any lawyer’s right to represent current or future clients or

right to practice law.




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              USE AND ADMINISTRATION OF THE ESCROW ACCOUNT

       14.     The parties hereto agree that the Settlement Fund is intended to be a separate

Qualified Settlement Fund within the meaning of Treasury Regulation Section 1.468B-1 and that

the Escrow Agent shall act as the administrator of the Qualified Settlement Fund within the

meaning of Treasury Regulation Section 1.468B-2(k)(3), and shall be responsible for filing or

causing to be filed all informational and other tax returns for the Settlement Fund and paying

from the Settlement Fund any Taxes owed thereon. The Escrow Agent, as administrator of the

Settlement Fund within the meaning of Treasury Regulation Section 1.468B-2(k)(3), shall timely

make such elections as are necessary or advisable to carry out this paragraph, including, as

necessary, making a “relation back election,” as described in Treasury Regulation Section

1.468-1(j), to cause the Qualified Settlement Fund to come into existence at the earliest

allowable date, and shall take or cause to be taken all actions as may be necessary or appropriate

in connection therewith.

       15.     All Taxes shall be paid out of the Settlement Fund, and shall be timely paid by the

Escrow Agent pursuant to the disbursement instructions to be set forth in the Escrow Agreement,

and without prior order of the District Court. Any tax returns prepared for the Settlement Fund

(as well as the election set forth therein) shall be consistent with the previous paragraph and in

all events shall reflect that all Taxes (including any interest or penalties) on the income earned by

the Settlement Fund shall be paid out of the Settlement Fund as provided herein. The Settlement

Fund shall indemnify and hold the Petrobras Defendants, the Underwriter Defendants, and all

other Released Parties harmless for any Taxes and related expenses of any kind whatsoever

(including without limitation, taxes payable by reason of any such indemnification), if any,

payable by the Petrobras Defendants by reason of any income earned on the Settlement Fund.




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       16.     The Escrow Agent shall discharge its duties in accordance with the terms of the

Escrow Agreement, under Class Counsel supervision and subject to the terms of this Stipulation

and the jurisdiction of the District Court. The Escrow Agent’s rights, duties and obligations

hereunder or pursuant to the Escrow Agreement may not be assigned, delegated or assumed

without approval by the Court. The Escrow Agreement, to which the Defendants are not a party

but to which the Petrobras Defendants are an intended limited third-party beneficiary, may not be

amended without the written consent of Petrobras Defendants’ Counsel. Except as otherwise

provided herein, the Petrobras Defendants, the Underwriter Defendants, and the other Released

Parties shall have no responsibility for the administration of the Settlement Fund and shall have

no liability to any person, including, but not limited to, the Settlement Class Members, in

connection with such administration.

       17.     The Petrobras Defendants, the Underwriter Defendants, and the other Released

Parties shall have no responsibility for, interest in, or liability whatsoever with respect to the

maintenance, investment or distribution of the Settlement Fund, the determination,

administration, or calculation of claims, the payment or withholding of Taxes, the distribution of

the Net Settlement Fund, the administration of the Settlement, or any losses incurred in

connection with such matters. The Petrobras Defendants, the Underwriter Defendants, and the

other Released Parties shall have no further or other liability or obligations to Class

Representatives, Class Counsel or any Settlement Class Member with respect to the Settled

Claims, except as expressly stated in this Stipulation.

       18.     In the event the Settlement and Judgment do not become Final or the Settlement is

terminated as provided herein, within seven (7) business days of entry of the Final order

rendering the Settlement and Judgment non-Final or notice of the Settlement being terminated,




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the Escrow Agent shall immediately return to the Petrobras Defendants, in accordance with the

terms of the Escrow Agreement, all monies then held in the Escrow Account, including interest

earned but less any costs or expenses properly incurred and approved by the District Court as set

forth herein. Under those circumstances, Class Counsel shall undertake to return those amounts

by taking all steps necessary to cause the Escrow Agent to make the foregoing repayments. Any

return of monies to Petrobras pursuant to the terms of this Stipulation shall be made via wire

transfer payable to Petróleo Brasileiro S.A.– Petrobras, with wire instructions to be provided by

the Petrobras Defendants. Any return of monies to PGF pursuant to the terms of this Stipulation

shall be made via wire transfer payable to Petrobras Global Finance B.V., pursuant to wire

instructions to be provided by the Petrobras Defendants.

  USE AND ADMINISTRATION OF SETTLEMENT ADMINISTRATION ACCOUNT

       19.     Upon deposit in the Escrow Account of a portion of the Settlement Consideration,

the Escrow Agent may transfer three million eight hundred thousand dollars (US$3,800,000.00)

from the Escrow Account to the Settlement Administration Account without prior approval of

the District Court in order to pay reasonable and necessary notice and administration costs

related to the Settlement. No other disbursements from the Escrow Account related to the

Settlement will occur until the Judgment becomes Final absent agreement of the Settling Parties

or District Court order, except as provided for in ¶ 15 above.

       20.     After the Judgment becomes Final, any remaining monies in the Settlement

Administration Account shall be transferred back to the Escrow Account, and the Settlement

Administration Account shall cease to exist. In the event the Settlement and Judgment do not

become Final or the Settlement is terminated as provided herein, within seven (7) business days

of entry of a Final order rendering the Settlement and Judgment non-Final or notice of the




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Settlement being terminated, the Escrow Agent shall immediately return to the Petrobras

Defendants, in accordance with the terms of the Escrow Agreement, all monies then held in the

Settlement Administration Account, including interest earned, except for any monies paid for

reasonably incurred administration costs, including notice costs and Taxes. Under those

circumstances, Class Counsel shall undertake to return those amounts by taking all steps

necessary to cause the Settlement Administrator and the Escrow Agent to make the foregoing

repayments. Once the Settlement becomes Final, no monies shall revert to the Petrobras

Defendants.

                                             NOTICE

       21.     In accordance with the schedule set forth in the Preliminary Approval Order, the

Settlement Administrator will cause to be mailed, by first-class mail, postage pre-paid, to

Settlement Class Members identified through reasonable efforts, the Notice, substantially in the

form attached hereto as Exhibit 1 to Exhibit B, and the Proof of Claim, substantially in the form

of Exhibit Y to the Notice attached hereto. The Notice shall set forth the terms and effect of the

Stipulation, including the proposed Plan of Allocation and Class Counsel’s request for attorneys’

fees and expenses; Class Plaintiffs’ request for a compensatory award; the date and time of the

Settlement Hearing; the right to object to the Settlement; the right to appear at the Settlement

Hearing; and the right to request exclusion from the Settlement Class. The Notice and Proof of

Claim shall also be posted on the Settlement Administrator’s website, at

www.petrobrassecuritieslitigation.com, which shall not use any trademark of the Petrobras

Defendants or in any other manner represent that the website is affiliated with or controlled by

and of the Petrobras Defendants. In accordance with the schedule set forth in the Preliminary

Approval Order, a Publication Notice, substantially in the form attached hereto as Exhibit 2 to




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Exhibit B, will also be published at least twice in the national edition of Investor’s Business

Daily and by electronic publication at least twice over the Business Wire, and will be published

at least twice in newspapers and sources in circulation in foreign countries, including the

International Herald Tribune, the Financial Times, through Bloomberg News, twice in the

additional publications in Brazil, Canada, France, Germany, Hong Kong, the Netherlands, the

United Kingdom, and the United States that are listed in Exhibit 3 to Exhibit B, and once in

every other publication listed in Exhibit 3 to Exhibit B and any other publications designated by

the District Court. The cost of providing such notice shall be paid out of the Settlement Fund.

Not later than thirty (30) days prior to the Settlement Hearing, Class Counsel shall serve on

Petrobras Defendants’ Counsel and file with the District Court proof, by affidavit or declaration,

of such mailing and publication.

                                   PLAN OF ALLOCATION

       22.     The Settlement Administrator shall administer the Settlement Fund subject to the

jurisdiction of the District Court and pursuant to this Stipulation and the Plan of Allocation.

       23.     The Plan of Allocation is not a necessary term of this Stipulation or the

Settlement. It is not a condition of this Stipulation, the Settlement, or the releases provided

herein that any particular plan of allocation be approved by the District Court, and any change,

modification, or alteration to the Plan of Allocation by the District Court or by any appellate

court shall not be grounds for termination of the Settlement. The Plan of Allocation is to be

considered by the District Court separately from its determination of the fairness, reasonableness,

and adequacy of the Settlement as set forth in the Stipulation. Any appeal relating to the

allocation of the Net Settlement Fund, the administration of the Settlement or the claims process

will not affect the finality of the Settlement, the Judgment, or the releases provided herein.




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       24.     The Petrobras Defendants, the Underwriter Defendants, and other Released

Parties will not have any responsibility or liability for any aspect of the Plan of Allocation,

including without limitation any acts or omissions of Class Counsel, the Escrow Agent or the

Settlement Administrator.

                    ADMINISTRATION OF THE SETTLEMENT FUND

       25.     Any Settlement Class Member who does not submit a timely and valid Proof of

Claim will not be entitled to receive any of the proceeds from the Net Settlement Fund, but will

otherwise be bound by all of the terms in this Stipulation and the Settlement, including the terms

of the Judgment to be entered in the Action and the releases provided for herein, and will be

barred from bringing or participating in any action in any forum against the Petrobras

Defendants, the Underwriter Defendants, and the other Released Parties concerning the Settled

Claims.

       26.     The Petrobras Defendants, the Underwriter Defendants, and the other Released

Parties will not have any responsibility or liability for any aspect of the administration of the

Settlement Fund, including without limitation any acts or omissions of Class Counsel, the

Escrow Agent or the Settlement Administrator.

       27.     For purposes of determining the extent, if any, to which a Claimant shall be

entitled to be treated as an Authorized Claimant, the following conditions (subject to District

Court order) shall apply:

               a.      Each Claimant shall be required to submit a valid Proof of Claim,

supported by such documents as are designated therein including proof of the transactions

claimed and the losses incurred thereon, or such other documents or proof as the Settlement

Administrator, in its discretion, may deem acceptable.




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               b.      All Proofs of Claim must be submitted by the date specified thereon,

unless such deadline is extended at the request of Class Counsel with approval by the Court.

Any Settlement Class Member who fails to submit a Proof of Claim by such date shall be forever

barred from receiving any payment pursuant to the Settlement and this Stipulation, but shall in

all other respects be bound by all of the terms of this Stipulation and the Settlement including the

terms of the Judgment to be entered in the Action and the releases provided for herein, and will

be barred from bringing or participating in any action in any forum against the Petrobras

Defendants, the Underwriter Defendants, or other Released Parties concerning the Settled

Claims. Provided that it is received before the motion for the Settlement Fund Distribution Order

is filed, a Proof of Claim shall be deemed to have been submitted when posted, if received with a

postmark indicated on the envelope and if mailed by First-Class mail and addressed in

accordance with the instructions provided thereon. In all other cases, the Proof of Claim shall be

deemed to have been submitted when actually received by the Settlement Administrator.

               c.      Each Proof of Claim shall be submitted to and reviewed by the Settlement

Administrator, who shall determine in accordance with this Stipulation the extent, if any, to

which each Claimant is an Authorized Claimant.

               d.      The administrative determinations of the Settlement Administrator

accepting or rejecting Proofs of Claim shall be presented to the District Court on notice to the

Settling Parties, for approval by the District Court in the Settlement Fund Distribution Order.

       28.     Each Claimant shall be deemed to have submitted to the jurisdiction of the

District Court with respect to the Claimant’s Proof of Claim, and the Proof of Claim will be

subject to investigation and discovery under the Federal Rules of Civil Procedure, provided that

such investigation and discovery shall be limited to that Claimant’s status as a Settlement Class




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Member and the validity of the amount of the Claimant’s Proof of Claim. No discovery shall be

allowed on the merits of the Action or Settlement in conjunction with the processing of the

Proofs of Claim.

        29.     Payment pursuant to this Stipulation shall be deemed final and conclusive against

all Claimants. All Settlement Class Members whose Proofs of Claim are not approved by the

District Court shall be barred from participating in the distribution from the Net Settlement Fund,

but otherwise shall be bound by all of the terms of this Stipulation and the Settlement, including

the terms of the Judgment to be entered in this Action and the releases provided for herein, and

will be barred from bringing or participating in any action in any forum against the Petrobras

Defendants or the other Released Parties concerning the Settled Claims.

        30.     All proceedings with respect to the administration, processing, and determination

of claims and all controversies relating thereto, including disputed questions of law and fact with

respect to the validity of claims, shall be subject to the jurisdiction of this District Court.

                           DISTRIBUTION OF THE SETTLEMENT

        31.     The Settlement Administrator shall determine and allocate to each Authorized

Claimant that Authorized Claimant’s proportionate share of the Net Settlement Fund based on

each Authorized Claimant’s Recognized Claim compared to the total Recognized Claims of all

Authorized Claimants. The Petrobras Defendants, the Underwriter Defendants, and the other

Released Parties shall have no involvement in reviewing, challenging, or approving the Proofs of

Claim or in distributing the Net Settlement Fund.

        32.     After the Effective Date, Class Counsel shall apply to the District Court, on notice

to the Settling Parties, for the Settlement Fund Distribution Order.




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       33.     The Net Settlement Fund shall be distributed to the Authorized Claimants,

pursuant to the Settlement Fund Distribution Order, only after the Effective Date, a Final

Judgment and after:

               a.      All timely Proofs of Claim for payment from the Net Settlement Fund

have been processed; and

               b.      All costs of administration have been paid.

       34.     The Settlement Administrator will use its best efforts to administer and distribute

the entirety of the Net Settlement Fund to the extent that it is equitably and economically

feasible. If any funds remain in the Net Settlement Fund by reason of uncashed checks, then,

after the Settlement Administrator has made reasonable and diligent efforts to have Class

Members who are entitled to participate in the distribution of the Net Settlement Fund cash their

distribution checks, any balance remaining in the Net Settlement Fund at least six (6) months

after the initial distribution of such funds shall be re-distributed, after payment of any unpaid

costs or fees incurred in administering the Net Settlement Fund for such redistribution, to Class

Members who have cashed their checks and who would receive at least ten dollars (US$10.00)

from such re-distribution. Such redistributions shall occur until the Claims Administrator, in

consultation with Class Counsel, has determined that further distributions would not be cost

effective. Once such determination has been made, then such unclaimed balance shall be

contributed by the Escrow Agent to an organization organized under Brazilian law, selected by

the Petrobras Defendants and approved by Class Counsel, whose mission is to fight corruption

and improve corporate governance in Brazil. If any funds remain in the Net Settlement Fund for

any other reason, including that the Net Settlement Fund exceeds 100% of the Recognized




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Losses of Authorized Claimants as set forth in the Plan of Allocation, then such balance shall be

contributed to the same organization.

       35.     The Settlement Administrator shall furnish to the Petrobras Defendants’ Counsel

information limited to a list of all Settlement Class Members who receive a distribution from the

Net Settlement Fund and the amount of such distribution.

                            ATTORNEYS’ FEES AND EXPENSES

       36.     Before distribution of the Net Settlement Fund to Settlement Class Members, and

upon reasonable notice to such Settlement Class Members, Class Counsel may apply to the

District Court for an award from the Settlement Fund of attorneys’ fees, and reimbursement of

expenses.

       37.     Any award of attorneys’ fees, costs, and expenses approved by the Court (“Fee

and Expense Award”) shall be payable to Class Counsel, for distribution by Class Counsel in its

discretion among itself and other Plaintiffs’ counsel that were involved in the Action, solely from

the Settlement Fund, subject to any limitations set forth by the Court, as well as subject to the

Attorneys’ Fees Letter, the terms of which are expressly incorporated by reference,

notwithstanding any timely filed objections thereto, or potential for appeal therefrom, or

collateral attack on the Settlement or any part thereof, subject to the obligation of all counsel

who receive any award of attorneys’ fees and costs to make full refunds or repayments to the

Settlement Fund plus interest earned thereon if, as a result of any appeal and/or further

proceedings on remand or successful collateral attack, the award is lowered or the Settlement is

disapproved by a Final order.

       38.     If the Fee and Expense Award is reduced or reversed on appeal, and in addition to

the obligations set forth in the Attorneys’ Fees Letter, Class Counsel and all other Plaintiffs’




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counsel to whom Class Counsel has distributed payments shall make all necessary refunds and

repayments into the Settlement Fund in accordance with the terms of the Attorneys’ Fees Letter

no later than thirty (30) calendar days of Plaintiffs’ counsel’s receipt of notice of any Final order

that reverses or reduces any award of attorneys’ fees or expenses, which shall be distributed by

the Settlement Administrator to the Settlement Class pursuant to the manner directed by the

District Court.

       39.        If the Effective Date does not occur, the Judgment does not become Final for any

reason (including a Final non-appealable reversal of the Judgment on appeal), or if this

Stipulation is terminated, then any award of fees and/or expenses is no longer payable. In the

event that any portion of the awarded fees and/or expenses has already been paid from the

Settlement Fund, Class Counsel and all other Class Representatives’ counsel to whom Class

Counsel has distributed payments shall within thirty (30) days from the event which precludes

the Effective Date from occurring or the termination of the Stipulation, refund to the Petrobras

Defendants the fees and expenses paid to Class Counsel and, if applicable, distributed to other

Class Representatives’ counsel, plus any interest, if any, actually accrued on such funds. In

addition to the obligations set forth in the Attorneys’ Fees Letter, Class Counsel’s law firm shall

be liable for any failure of Class Counsel to refund or repay the fees and expenses to the

Petrobras Defendants. If the reason for the Effective Date not occurring is the result of an order

from the United States Court of Appeals for the Second Circuit, said refund shall only be

required when such order has become Final.

       40.        If any award of fees and expenses is reduced or reversed on appeal, or should it be

determined that Class Counsel is not entitled to fees and expenses, but the Judgment otherwise

becomes Final, Class Counsel and all other Class Representatives’ counsel to whom Class




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Counsel has distributed payments shall within thirty (30) days from the date of a Final order by

the Second Circuit or the Supreme Court directing such reduction or reversal, make such refunds

as are required by such Final order, and such funds shall be distributed by the Escrow Agent to

the Settlement Class in the manner directed in the Final order. In addition to the obligations set

forth in the Attorneys’ Fees Letter, Class Counsel’s law firm shall be liable for any failure of

Class Counsel to refund or repay the fees and expenses.

       41.     The procedure for and the allowance or disallowance by the District Court of any

application by Class Counsel for attorneys’ fees and expenses to be paid out of the Settlement

Amount is not a necessary term of the Settlement or this Stipulation and it is not a condition of

this Stipulation that any particular application for attorneys’ fees or expenses be approved. Class

Representatives and Class Counsel may not cancel or terminate the Stipulation or the Settlement

based on the District Court’s or any appellate court’s ruling with respect to attorneys’ fees. Any

order of or proceeding relating to the fee and expense application, or any objection to, motion

regarding, or appeal from any order or proceeding relating thereto or reversal or modification

thereof, shall not operate to modify, terminate or cancel this Stipulation, or affect or delay the

finality of the Final Judgment or the releases contained therein or any other orders entered

pursuant to this Stipulation. The Petrobras Defendants, the Underwriter Defendants, and the

other Released Parties shall have no responsibility for, and no liability whatsoever with respect

to, any payments to Class Counsel or any other Class Representatives’ counsel or the Class

Representatives or any other Person who receives such payment from the Settlement Fund. The

Petrobras Defendants, the Underwriter Defendants, and the other Released Parties shall not have

any obligation to pay any portion of attorneys’ fees or expenses, aside from the Petrobras

Defendants’ payments due to the Settlement Fund.




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       42.     The procedure for and the allowance or disallowance by the District Court of any

applications by any Class Counsel for attorneys’ fees and expenses to be paid out of the

Settlement Amount is not part of the Settlement set forth in this Stipulation and is to be

considered by the District Court separately from the District Court’s consideration of the

fairness, reasonableness and adequacy of the Settlement set forth in this Stipulation and any

order or proceeding relating to the fee and expense application, or any appeal from any order

relating thereto or reversal or modification thereof, shall not operate to terminate or cancel this

Stipulation or affect or delay the finality of the Judgment approving this Stipulation and the

Settlement of the Action set forth therein.

       43.     Any fees and/or expenses awarded by the District Court shall be paid solely from

the Settlement Fund. With the sole exception of the Petrobras Defendants’ obligation to pay or

cause the Settlement Amount to be paid into the Escrow Account, Defendants and the other

Released Parties shall have no responsibility for, and no liability whatsoever with respect to, any

payment of attorney’s fees and/or expenses (including Taxes) to Class Counsel, or any other

counsel or Person who receives payment from the Settlement Fund.

       44.     Defendants and the other Released Parties shall have no responsibility for the

allocation among Lead Plaintiffs’ Counsel and/or any other Person who may assert some claim

thereto of any fee and expense award that the District Court may make in the Action.

       45.     Defendants and the other Released Parties shall have no responsibility for, and no

liability whatsoever with respect to, any attorneys’ fees, costs, or expenses (including Taxes)

incurred by or on behalf of any Settlement Class Member, whether or not paid from the Escrow

Account.




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                                REQUESTS FOR EXCLUSION

       46.     Persons requesting exclusion from the Settlement Class shall be required to

provide the following information to the Settlement Administrator on the form attached as

Exhibit Z to the Notice: (i) name; (ii) address; (iii) telephone number; (iv) identity (including

original face value for debt securities) of the securities purchased (or otherwise acquired), or

sold, (v) prices or other consideration paid or received for such securities; (vi) number and type

of Petrobras Securities purchased, acquired and sold; (vii) the date of each purchase or sale

transaction and (viii) a statement that the person or entity wishes to be excluded from the

Settlement Class. The request for exclusion shall not be effective unless it provides the required

information and is made within the time stated below, or the exclusion is otherwise accepted by

the Court.

       47.       Unless otherwise ordered by the District Court, any person who does not submit

a timely request for exclusion as provided by this section shall be bound by this Stipulation. The

deadline for submitting requests for exclusion shall be 35 calendar days prior to the Settlement

Hearing.

       48.     The Settlement Administrator shall scan and send electronically copies of all

requests for exclusion to the Petrobras Defendants’ Counsel, the Underwriter Defendants’

Counsel, and to Class Counsel expeditiously (and not more than three (3) business days) after the

Settlement Administrator receives such a request. As part of the reply papers in support of the

Settlement, Class Counsel will cause to be provided a list of all persons who have requested

exclusion from the Settlement Class, and shall cause to be certified that all requests for exclusion

received by the Settlement Administrator have been copied and provided to the Petrobras

Defendants’ Counsel and the Underwriter Defendants’ Counsel.




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                             NO ADMISSION OF WRONGDOING

       49.     The Settling Parties agree that neither this Stipulation nor the Supplemental

Agreement, nor the Attorneys’ Fees Letter, nor the fact nor any terms of the Settlement, nor any

communication relation thereto, is evidence, or an admission or concession by any Settling Party

or its counsel, of any fault, liability or wrongdoing whatsoever, as to any facts or claims alleged

or asserted in the Action, or any other actions or proceedings, or as to the validity or merit of any

of the claims or defenses alleged or asserted in any such action or proceeding.

       50.     Throughout the course of the Action, the Defendants have denied and continue to

deny liability and maintain that they have meritorious defenses, including that Petrobras was a

victim of the scheme alleged by the Plaintiffs in the Action and that the Underwriter Defendants

performed appropriate due diligence. Nonetheless, the Petrobras Defendants and Underwriter

Defendants have determined that it is desirable that the Action fully and finally be settled in the

manner and upon the terms and conditions set forth in this Stipulation in order to avoid the cost,

burden, and risk of litigation in the United States.

       51.     Neither this Stipulation, nor the Supplemental Agreement, nor the Attorneys’ Fees

Letter, whether or not consummated, nor any of the terms and provisions of this Stipulation or

the Supplemental Agreement or the Attorneys’ Fees Letter, nor any of the acts performed or

negotiations, discussions, drafts or proceedings in connection therewith, nor any of the

documents or statements referred to herein or therein, nor the Settlement, nor the fact of the

Settlement, nor the Settlement proceedings, nor any statement in connection therewith, shall be

deemed to be, nor may be argued to be or offered or received:

               a.      Against the Petrobras Defendants, the Underwriter Defendants, or other

Released Parties as evidence of, or construed as evidence of any presumption, concession, or




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admission by the Petrobras Defendants, the Underwriter Defendants, or other Released Parties

with respect to the truth of any fact alleged by Class Representatives in this Action, or the

validity of any claim that has been or could have been asserted against the Petrobras Defendants,

the Underwriter Defendants, or other Released Parties in this Action, or the deficiency of any

defense that has been or could have been asserted in the Action, or the propriety of class action

or collective action treatment with respect to claims of any investors in Petrobras Securities

related to the allegations that form the basis of the Action, or the entitlement of any investors

who are not Settlement Class Members to any payment by or damages from the Petrobras

Defendants, the Underwriter Defendants, or the other Released Parties, or of any wrongdoing or

liability by the Petrobras Defendants, the Underwriter Defendants, or other Released Parties.

               b.      Against the Petrobras Defendants, the Underwriter Defendants, or other

Released Parties as evidence of, or construed as evidence of any presumption, concession, or

admission of any fault, misrepresentation, or omission with respect to any statement or written

document, or against Class Representatives or any Settlement Class Member as evidence of, or

construed as evidence of any infirmity of the claims alleged by Class Representatives in the

Action.

               c.      Against the Petrobras Defendants, the Underwriter Defendants, or other

Released Parties, Class Representatives, or any Settlement Class Member as evidence of, or

construed as evidence of any presumption, concession, or admission by the Petrobras

Defendants, the Underwriter Defendants, the other Released Parties, Class Representatives, or

any Settlement Class Member with respect to any liability, negligence, fault, or wrongdoing as

against the Petrobras Defendants, the Underwriter Defendants, the other Released Parties, Class

Representatives, or any Settlement Class Member in any other civil, criminal, or administrative




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action or proceeding, other than such proceedings as may be necessary to effectuate the

provisions of this Stipulation, provided, however, that if this Stipulation is approved by the

District Court, the Petrobras Defendants, the Underwriter Defendants, the other Released Parties,

Class Representatives, and any Settlement Class Member may refer to it to effectuate the liability

protection granted them hereunder and may file this Stipulation and/or the Judgment in any

action for any purpose, including, but not limited to, in order to support a defense or

counterclaim based on principles of res judicata, collateral estoppel, release and discharge, good

faith settlement, judgment bar or reduction or any other theory of claim preclusion or issue

preclusion or similar defense or counterclaim;

               d.      Against the Petrobras Defendants, the Underwriter Defendants, or other

Released Parties as evidence of, or construed as evidence of any presumption, concession, or

admission that the Settlement Amount represents the amount which could or would have been

received after trial of the Action against them; or

               e.      Against Class Representatives or any Settlement Class Member as

evidence of, or construed as evidence of any presumption, concession, or admission by any Class

Representative or any Settlement Class Member that any of the claims are without merit, or that

any defenses asserted by the Petrobras Defendants or any other Defendant in the Action, have

any merit, or that damages recoverable in the Action would not have exceeded the Settlement

Amount.

  TERMS OF ORDER FOR NOTICE AND HEARING AND ENTRY OF JUDGMENT

       52.     Any Settlement Class Member who fails to comply with any of the provisions ¶¶

25, 27-29 of this Stipulation shall be bound by all the terms of the Settlement and this

Stipulation, and by all proceedings, orders and judgments in the Action.




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       53.       Any Settlement Class Member who wishes to object to the Settlement or to this

Stipulation must comply with the procedures set forth in the [Proposed] Order Preliminarily

Approving Settlement And Providing for Notice, attached as Exhibit B.

                                     TERMS OF JUDGMENT

       54.       If the Settlement contemplated by this Stipulation is approved by the District

Court, counsel for the Settling Parties shall request that the District Court enter the Judgment,

substantially in the form annexed hereto as Exhibit C, which shall dismiss this Action with

prejudice in its entirety against all Defendants named in the Action.

         EFFECTIVE DATE OF SETTLEMENT, WAIVER, OR TERMINATION

       55.       The Effective Date of Settlement shall be the date when all of the following shall

have occurred:

                 a.     Approval by the District Court of the Settlement, following the period set

forth for notice under the Class Action Fairness Act (“CAFA”), and following notice to the

Settlement Class and the Settlement Hearing, as prescribed by Fed. R. Civ. P. 23;

                 b.     Petrobras has made each of the payments constituting the Settlement

Amount into the Escrow Account;

                 c.     The Settling Parties have not exercised their respective rights to terminate

the Settlement as provided in ¶¶ 57, 58, or 62, and the time to exercise those rights has expired;

and

                 d.     Entry by the District Court of the Judgment, which has become Final, or in

the event that the District Court enters an order of judgment not in all material respects in the

form of the Judgment and none of the Settling Parties elects to terminate this Settlement, the

date that such alternative judgment becomes Final.




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       56.     Notwithstanding the conditions set forth in ¶ 55, if any of the payments of the

Settlement Amount is the only requisite condition preventing the Effective Date from occurring,

Class Representatives shall have the discretion, after the entry of a Final non-appealable

judgment, to make a partial distribution to the Settlement Class of any Settlement Amounts

received.

       57.     Each of the Settling Parties shall have the right to terminate its participation in

this Settlement by providing written notice of its election to do so (the “Termination Notice”) to

counsel for the other Settling Parties hereto within thirty (30) days of any of the following:

               a.      The District Court’s declining to enter the Preliminary Approval Order in

any material respect without leave to amend and resubmit;

               b.      The District Court’s refusal to approve this Stipulation in any material

respect without leave to amend and resubmit;

               c.      The District Court’s declining to enter the Judgment in any material

respect without leave to amend and resubmit; provided, however, that this Settlement is

expressly not conditioned on the District Court’s approval of the proposed Plan of Allocation or

any plan of allocation in the Action, nor on the District Court’s approval of Class Counsel’s

application for attorneys’ fees or expenses, nor on the District Court’s approval of any

compensatory award to Class Representatives, and any change in the Judgment relating solely to

these items shall not be considered a material change;

               d.      The District Court’s declining to approve the adequacy of the Settlement

Amount, the scope of the Settled Claims, and/or the definitions of Settlement Class, Covered

Transaction or Settled Claims, as defined herein; or




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               e.      The Judgment being modified or reversed in any material respect by the

District Court, the Second Circuit or the Supreme Court, except for a ruling solely with respect

to: (i) the Plan of Allocation or any plan of allocation in the Action, (ii) the District Court’s

approval of Class Counsel’s application for attorneys’ fees or expenses, or (iii) the District

Court’s approval of any compensatory award to Class Representatives.

       58.     The Class Representatives shall have the right to terminate the Settlement in the

event that any failure to pay the Settlement Amount within the time set forth in ¶ 3 above is not

cured within thirty (30) days after written notice is provided in accordance with ¶ 79 below.

       59.     In the event of a termination (whether under ¶¶ 57, 58, or 62), the Stipulation and

releases provided for therein shall become null and void and of no further force and effect

(except for ¶¶ 18, 20, 39, 49-51, 57-60, 62-63 and 77, which shall survive the termination), and

the Settling Parties shall be deemed to have reverted to their respective positions as they existed

prior to the execution of the Term Sheet, the execution of the Stipulation, and the entry of any

orders pursuant to the Stipulation. The Settling Parties shall thereafter proceed in all respects as

if the Stipulation had not been executed and any related orders had not been entered, and all of

their respective claims and defenses as to any issue in the Action shall be preserved without

prejudice. The Settling Parties shall work together to arrive at a mutually agreeable, proposed

schedule for resuming litigation of the Action in light of such developments, to be submitted to

the District Court for approval. Notwithstanding the above, should the cause for termination be

the failure of one or more of the Settling Parties to fulfill one or more of the terms of this

Stipulation, any of the other Settling Parties shall have the right to seek enforcement of the

relevant terms thereof.




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       60.        In the event the Stipulation shall be terminated, or shall not become effective for

any reason, within seven (7) business days after the occurrence of such event, the Settlement

Fund shall be returned by the Escrow Agent to the Petrobras Defendants as provided in ¶ 18.

       61.        In the Judgment, the Settlement Class shall be certified solely for purposes of this

Settlement, but in the event that the Judgment does not become Final or the Settlement fails to

become effective for any reason, all Settling Parties reserve all their rights on all issues,

including whether a class should be certified in the Action.

                                OPT-OUT TERMINATION RIGHT

       62.        Simultaneously herewith, the Settling Parties, by and through their respective

counsel, are executing a Supplemental Agreement setting forth certain conditions under which

this Stipulation may be withdrawn or terminated at the sole discretion of the Petrobras

Defendants if certain conditions (the “Opt-Out Threshold”) are met, with such Opt-Out

Threshold not being filed with the District Court, except that the substantive contents of the

Supplemental Agreement may be brought to the attention of the District Court, in camera, in the

event of a dispute between the Settling Parties or if so requested or as otherwise ordered by the

District Court.

       63.        The Settling Parties will keep the terms of the Supplemental Agreement

confidential, except pursuant to law, judicial order or regulator request, but such disclosure shall

be carried out to the fullest extent possible so as to preserve the confidentiality of the

Supplemental Agreement.

                                           CAFA NOTICE

       64.        Pursuant to CAFA, no later than ten (10) calendar days after the Stipulation is

filed with the District Court, Petrobras Defendants’ Counsel shall, at Petrobras Defendants’




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expense, serve proper notice of the Settlement upon the United States Attorney General and each

State Attorney General. Simultaneously, Petrobras Defendants shall provide a copy of such

notice as well as proof of service of such notice to Class Counsel.

                               MISCELLANEOUS PROVISIONS

       65.     All of the Exhibits attached hereto are hereby incorporated herein by reference as

though fully set forth herein. Notwithstanding the foregoing, in the event of a conflict or

inconsistency between the terms of this Stipulation and the terms of any Exhibit attached hereto,

the terms of this Stipulation shall prevail.

       66.     The Settling Parties intend the Settlement to be a final and complete resolution of

all disputes which have been asserted, could have been asserted, or could be asserted by Class

Representatives or Settlement Class Members under foreign, federal, state or local law against

the Petrobras Defendants and the other Released Parties concerning the Settled Claims and

against Class Representatives and Settlement Class Members by the Petrobras Defendants

concerning the Defendant Claims. Accordingly, the Settling Parties agree not to assert in any

forum that the litigation was brought by Class Representatives or defended by any of the

Defendants in bad faith or without a reasonable basis. The Settling Parties shall assert no claims

of any violation of Fed. R. Civ. P. 11 relating to the prosecution, defense, or settlement of this

Action. Moreover, none of the Settling Parties shall seek any cost-shifting against another. The

Settling Parties agree that the Settlement Amount and the other terms of the Settlement were

negotiated at arm’s-length in good faith by the Settling Parties, including during telephonic and

face-to-face sessions, and reflect a settlement that was reached voluntarily after consultation with

experienced legal counsel.




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        67.     This Stipulation may not be modified or amended except by a writing signed by

all signatories hereto or their successors-in-interest, nor may a Settling Party be deemed to have

waived any provision (including this provision) except by a writing signed by that Settling Party

or its successor-in-interest.

        68.     Class Counsel, on behalf of the Settlement Class, is expressly authorized by Class

Representatives to take all appropriate action required or permitted to be taken by the Settlement

Class pursuant to the Stipulation to effectuate its terms and also is expressly authorized to enter

into any modifications or amendments to the Stipulation on behalf of the Settlement Class which

it deems appropriate.

        69.     Class Representatives and Class Counsel represent and warrant that none of the

Class Representatives’ claims or causes of action referred to in this Action or this Stipulation has

been assigned, encumbered, or in any manner transferred in whole or in part.

        70.     Each counsel or other person executing the Stipulation or any of its Exhibits on

behalf of any Settling Party hereby warrants and represents that such person has the full authority

to do so and that he or she has the authority to take appropriate action required or permitted to be

taken pursuant to the Stipulation to effectuate its terms.

        71.     The headings herein are used for the purpose of convenience only and are not

meant to have legal effect.

        72.     The administration and consummation of the Settlement as embodied in this

Stipulation shall be under the authority of the District Court, and the District Court shall retain

jurisdiction for the purpose of entering orders relating to awards of attorneys’ fees and expenses

to Class Counsel (including for distribution among any other Class Representatives’ counsel or




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the repayment of attorneys’ fees and expenses as set forth in ¶¶ 18, 20 and 38-40) and any

compensatory award to the Class Representatives and enforcing the terms of this Stipulation.

       73.     Other than the agreement set forth in the Supplemental Agreement as discussed in

¶¶ 62-63 herein, and the agreement set forth in the Attorneys’ Fees Letter as discussed in ¶¶ 37-

40 herein, this Stipulation and its exhibits constitute the entire agreement among the Settling

Parties concerning this Settlement, and supersedes all prior understandings, communications, and

agreements with respect to the subject of the Settlement. No representations, warranties, or

inducements have been made by any Settling Party concerning this Stipulation and its exhibits

other than those contained, memorialized, or referenced in such documents.

       74.     This Stipulation may be executed in one or more original, e-mail and/or faxed

counterparts, and the counterparts when executed may be made into a composite which shall

constitute one integrated original agreement.

       75.     This Stipulation shall be binding upon, and inure to the benefit of, the Settling

Parties hereto and their successors, heirs, executors and assigns.

       76.     The construction, interpretation, operation, effect, and validity of this Stipulation,

and all documents necessary to effectuate it, shall be governed by the internal laws of the State of

New York without regard to conflicts of laws, except to the extent that federal law requires that

federal law govern.

       77.     The District Court shall retain jurisdiction with respect to the implementation and

enforcement of the terms of this Stipulation, and all parties hereto submit to the jurisdiction of

the District Court for purposes of implementing and enforcing the Settlement embodied in this

Stipulation.




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       78.     The waiver by one party of any breach of this Stipulation by any other party shall

not be deemed a waiver of any other prior or subsequent breach of this Stipulation.

       79.     If any Settling Party is required to give notice to any other Settling Party under

this Stipulation, such notice shall be in writing and shall be deemed to have been duly given

upon receipt of hand-delivery, overnight courier, or facsimile transmission with confirmation of

receipt. Notice shall be provided as follows:

         If to Class Counsel:                            Jeremy A. Lieberman
                                                         POMERANTZ LLP
                                                         600 Third Avenue
                                                         New York, New York 10016
                                                         Tel: (212) 661-1100
                                                         Fax: (212) 661-8665

         If to Petrobras Defendants’ Counsel             Lewis J. Liman
                                                         Roger A. Cooper
                                                         CLEARY GOTTLIEB STEEN &
                                                         HAMILTON LLP
                                                         One Liberty Plaza
                                                         New York, NY 10006
                                                         Tel: (212) 225-2000
                                                         Fax: (212) 225-3999

         If to Underwriter Defendants’ Counsel:          Jay B. Kasner
                                                         Scott Musoff
                                                         SKADDEN, ARPS, SLATE, MEAGHER
                                                         & FLOM LLP
                                                         Four Times Square
                                                         New York, NY 10036
                                                         Tel: (212) 735-3000
                                                         Fax: (212) 735-2000

       80.     This Stipulation shall not be construed more strictly against one Settling Party

than another merely by virtue of the fact that it, or any part of it, may have been prepared by

counsel for one of the Settling Parties, it being recognized that it is the result of arm’s-length

negotiations between the Settling Parties, and all Settling Parties have contributed substantially

and materially to the preparation of this Stipulation.



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       81.     The Settling Parties warrant that, in entering into this Settlement, they relied

solely upon their own knowledge and investigation, and not upon any promise, representation,

warranty, or other statement by any other Settling Party, not expressly contained in this

Stipulation or any of the incorporated Settlement documents.

       82.     Class Counsel and the Petrobras Defendants’ Counsel agree to cooperate with one

another in seeking District Court approval of the Preliminary Approval Order, this Stipulation

and the Settlement, and to use best efforts to promptly agree upon and execute all such other

documentation as may be reasonably required to obtain final approval by the District Court of

the Settlement.

       83.     No person shall have any claim against Class Representatives, Class Counsel,

other Class Representatives’ counsel who performed work on the Action, the Settlement

Administrator, the Escrow Agent or any other agent designated by Class Counsel based on

distribution determinations or claim rejections made substantially in accordance with this

Stipulation and the Settlement, the Plan of Allocation, or further orders of the District Court,

except in the case of fraud or willful misconduct. No person shall have any claim under any

circumstances against the Petrobras Defendants, Underwriter Defendants or any of the other

Released Parties, based on any distributions, determinations, claim rejections or the design, terms

or implementation of the Plan of Allocation.

       84.     Class Representatives shall not request exclusion from the Settlement Class, shall

not object to the Settlement, and shall not encourage or otherwise influence any Settlement Class

Member to request exclusion from the Settlement Class, or to object to, the Settlement.

Dated: February 1, 2018




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